                     EXHIBIT C




{00464328.DOCX; 4}
  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
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  In re:                                                     Chapter 11

  ALUMINUM SHAPES, L.L.C.,                                   Case No. 21-16520 (JNP)

                               Debtor.




        ORDER APPROVING STALKING HORSE EXPENSE REIMBURSEMENT

        The relief set forth on the following page numbered two (2) is hereby

ORDERED.




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Page -2-
Debtor:                   Aluminum Shapes, L.L.C.
Case No:                  21-16520-JNP
Caption of Order:         Order Approving Stalking Horse Expense Reimbursement


        AND NOW, upon consideration of the Application for Entry of an Order Approving

Statement of Expenses by Stalking Horse Bidder (the “Statement of Expenses”) 1 of CGPN, LLC

(“CGPN”); and there being no objections to the payment of the $75,000 Expense Reimbursement;

and after due deliberation, and good cause shown:

        IT IS on this ___ day of ___________, 2021, ORDERED and DECREED as follows:

        1.       The Debtor is authorized and directed to reimburse CGPN in the amount of $75,000

on account of the CGPN Expenses which shall constitute payment in full of the Expense

Reimbursement.

        2.       Notice of the Motion as provided herein shall be deemed good and sufficient notice

of such Motion and the requirements of the Bankruptcy Procedure and the Local Rules are satisfied

by notice.

        3.       The terms and conditions of this Order are immediately effective and enforceable

upon its entry, and any stay applicable under the Bankruptcy Rules or Local Rules is hereby

expressly waived and shall not apply.

        4.       The Debtor is authorized and directed to take all actions necessary to effectuate the

relief granted pursuant to this Order.

        5.       This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, and/or enforcement of this Order.




1
 Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Application for
Entry of an Order Approving Statement of Expenses by Stalking Horse Bidder.

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